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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 STERN, LAVINTHAL & FRANKENBERG, LLC                            Order Filed on October 29, 2019
 105 Eisenhower Parkway, Suite 302                              by Clerk
 Roseland, NJ 07068                                             U.S. Bankruptcy Court
 Phone: (973) 797-1100                                          District of New Jersey
 Fax: (973) 228-2679
 Email: mcozzini@sternlav.com
 Attorney for Secured Creditor,
 Nationstar Mortgage LLC
 By Maria Cozzini, Esq.

 In Re:                                                 Case No.: 19-25410-VFP

          Karin A. Weinraub                             Chapter: 7

                                                        Hearing Date: October 22, 2019
                 Debtor(s).
                                                        Judge: Vincent F. Papalia



                    ORDER RESOLVING MOTION TO VACATE STAY
                               WITH CONDITIONS

The relief set forth on the following pages, numbered two (2) through three (3) is ORDERED




 DATED: October 29, 2019
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Debtor: Karin A. Weinraub
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Caption: Order Resolving Motion to Vacate Stay with Conditions

Applicant:                             Nationstar Mortgage LLC
Applicant’s Counsel:                   Stern Lavinthal & Frankenberg, LLC
Debtor’s Counsel:                      John P. Fazzio, Esq.                              ______
Property Involved (“Collateral”):      802 ALBEMARLE STREET, WYCKOFF, NJ 07481

Relief sought:
     Motion for relief from the automatic stay
      Motion to dismiss
      Motion for prospective relief to prevent imposition of automatic stay
      against the collateral by debtor’s future bankruptcy filings

        For good cause shown, it is ORDERED that Applicant’s Motion(s) is (are) resolved,
subject to the following conditions:

    1. Status of post-petition arrearages:

        •   The Debtor is overdue for _2 months, from _September 2019 to October 2019.

        •   The Debtor is overdue for _2 payments at $2,934.84 per month.

        Total Arrearages Due $5,869.68.

    2. Debtor must cure all post-petition arrearages, as follows:

        •   Beginning on November 1, 2019, regular monthly mortgage payments shall continue
            to be made in the amount $2,934.84. Payments shall be due on the first day of the
            month when due.
        •   Beginning on November 1, 2019, additional monthly cure payments shall be made in
            the amount of $1,467.42 for 4 months. Payments shall be due on the first day of the
            month when due.

   3.   Payments to the Secured Creditor shall be made to the following address(es):

     Regular monthly payment:          Nationstar Mortgage, LLC
                                        P.O. Box 619094
                                        Dallas, TX 75261-9741

     Monthly cure payment:             Nationstar Mortgage, LLC
                                        P.O. Box 619094
                                        Dallas, TX 75261-9741
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     4.   In the event of Default:

      If the Debtors fail to make any regular monthly payment or the additional monthly cure
          payment within five (5) days of the date the payments are due, then the Secured Creditor
          shall provide notice of default to the Debtor and to the Debtor’s attorney. If the default is
          not cured within five (5) day of the default notice, or ten (10) days from the date of the
          initial default, the Creditor may obtain an Order Vacating the Automatic Stay as to the
          Collateral by filing, with the Bankruptcy Court, a Certification specifying the Debtors’
          failure to comply with this Order. At the time the Certification is filed with the court, a
          copy of the Certification shall be sent to the Chapter 7 Trustee, the Debtors, and the
          Debtors’ attorney.
     � If the bankruptcy case is dismissed, or if the automatic stay is vacated, the filing of a
          new bankruptcy case will not act to impose the automatic stay against the Secured
          Creditor’s opportunity to proceed against its Collateral without further Order of the
          Court.

5.   Award of Attorneys’ Fees:
           The Applicant is awarded attorneys fees of $350.00, and costs of $181.00.
             The fees and costs are payable:
          � to the Secured Creditor within __________ days.
          � Attorneys’ fees are not awarded.
